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           [ORAL ARGUMENT NOT SCHEDULED]
                       No. 23-5154


        IN THE UNITED STATES COURT OF APPEALS
         FOR THE DISTRICT OF COLUMBIA CIRCUIT


 IN RE MERRICK B. GARLAND, IN HIS OFFICIAL CAPACITY AS
  ATTORNEY GENERAL; UNITED STATES DEPARTMENT OF
JUSTICE; CHRISTOPHER A. WRAY, IN HIS OFFICIAL CAPACITY
  AS FBI DIRECTOR; FEDERAL BUREAU OF INVESTIGATION,
                               PETITIONERS.



 REPLY IN SUPPORT OF PETITION FOR A WRIT OF MANDAMUS
TO THE U.S. DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

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      This Court should grant the government’s petition for mandamus and

direct the district court to quash plaintiffs’ extraordinary request to depose a

former President about actions he took and discussions he had with senior

advisors while conducting his official duties.

      Much of plaintiffs’ opposition rests on the premise that a civil litigant’s

request to depose a former President about official conduct should be treated

no differently from a request to depose any other “third-party witness.”

Opp’n 1. That premise has no basis in precedent or common sense. As the

Supreme Court has repeatedly admonished, “in no case” is a court “required

to proceed against the president as against an ordinary individual.” Cheney

v. U.S. Dist. Court for D.C., 542 U.S. 367, 381-82 (2004) (alteration omitted)

(quoting United States v. Burr, 25 F. Cas. 187, 192 (No. 14,694) (CC Va.

1807)). The separation-of-powers concerns that arise when a court

authorizes the deposition of a former President are equally plain. Given “the

singular importance of the President’s duties” and “the effect of his actions

on countless people,” Nixon v. Fitzgerald, 457 U.S. 731, 751, 753 (1982),

allowing civil litigants to depose a former President as a routine matter

would expose Presidents to innumerable demands for testimony after leaving

office. The threat of a post-Presidency deluge of third-party subpoenas, in
turn, risks causing a President to “diver[t] . . . his energies” and alter his

behavior while in office, id. at 751, at significant cost to the Executive Branch

and to the public.

      Contrary to plaintiffs’ contention, these harms to the effective

functioning of the Executive Branch cannot be “corrected on appeal” after

final judgment. Opp’n 2. Just as in the many cases in which this Court and

other courts have granted writs of mandamus to block the deposition of

Cabinet officers, it is the deposition itself that causes the injury. For these

reasons, the district court correctly recognized that a former President’s

deposition about official conduct is justified, if at all, only in “extraordinary

circumstances.” Feb. 23, 2023 Tr. 6 (A12).

      The district court clearly abused its discretion, however, in concluding

that such extraordinary circumstances exist here. Plaintiffs’ opposition only

underscores why mandamus is warranted. Plaintiffs contend that the former

President’s deposition will help them establish whether and to what extent he

influenced the FBI’s decision to terminate Strzok. But the former

President’s negative view of Strzok and his strong desire that Strzok be fired

are matters of public record. Plaintiffs do not need to confirm that the

former President expressed similar views in private.


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      Moreover, plaintiffs have already deposed or interviewed, among

others, the relevant FBI decisionmaker (Deputy Director Bowdich), FBI

Director Wray, the former President’s Chief of Staff, and the former Deputy

Attorney General.



                                                                             .

If asked, witnesses also testified that



                                                       catalogued by the

Justice Department’s Office of the Inspector General, which Strzok himself

acknowledged was damaging to the Bureau. Plaintiffs are free to argue, if

they wish, that the district court should not credit

          . But they have not established any proper basis on this record for

deposing a former President of the United States regarding his official

conduct in office.

      For these reasons and those set forth in the government’s petition, this

Court should grant the government’s request for mandamus and quash the

former President’s deposition.




                                          3
                                 ARGUMENT

                    Mandamus Is Warranted To Block
                  the Deposition of the Former President

      A.    A Former President May Be Deposed About His
            Official Conduct, If at All, Only in Exceptional
            Circumstances

      Plaintiffs urge that a request to depose a former President about his

official conduct is subject to the same scrutiny and legal standards as a

request to depose any other “third-party witness.” Opp’n 1-2; see also Opp’n

18-20 (arguing that the district court’s order fits within the district court’s

routine “authority to manage discovery matters”). According to plaintiffs,

the compelled deposition of a former President causes no harm to the

Executive Branch, particularly in the absence of an assertion of Executive

privilege. Opp’n 20-23. They further assert that the former President should

be treated like any other deponent because he was not the “official

decisionmaker,” and they seek only “to determine whether he improperly

influenced official action” by the relevant agency decisionmaker. Opp’n 24.

None of these assertions withstands scrutiny.




                                        4
            1.     Presidents Are Not Ordinary Third-Party
                   Witnesses When Asked About Actions Taken in
                   the Course of Their Official Duties

      There is no merit to plaintiffs’ view that a former President should be

subject to a deposition in civil litigation under the same standards as any

other witness. It is well established that “top executive department officials

should not, absent extraordinary circumstances, be called to testify

regarding their reasons for taking official actions.” Simplex Time Recorder

Co. v. Secretary of Labor, 766 F.2d 575, 586 (D.C. Cir. 1985). That principle

applies with even greater force to Presidents because of the unique features

of that office. Pet. 23-24. As Chief Justice Marshall explained while sitting

as a trial judge, “[i]n no case . . . would a court be required to proceed against

the president as against an ordinary individual.” Cheney v. U.S. Dist. Court

for D.C., 542 U.S. 367, 381-82 (2004) (alterations in original) (quoting United

States v. Burr, 25 F. Cas. 187, 192 (No. 14,694) (CC Va. 1807)). Indeed, in a

case involving a claim that another former President had a hand in the

allegedly unlawful termination of a federal employee, the Supreme Court

emphasized that the “President’s unique status under the Constitution

distinguishes him” even “from other [high-ranking] officials,” including

Cabinet officers, and demands particular “judicial deference and restraint” in


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the conduct of litigation against him. Nixon v. Fitzgerald, 457 U.S. 731, 750,

753-54 (1982).

            2.    The Executive Branch Faces Irreparable Injury

      Plaintiffs err in urging (Opp’n 20-23) the Executive Branch faces no

irreparable injury from a judicial order compelling a former President to

testify about discussions he had with senior advisers and actions he took

while conducting his official duties. Most significantly, plaintiffs ignore the

chilling effect on Presidential decisionmaking and speech that would occur if

a President had to worry that every decision affecting issues of concern to

the public and the Executive Branch could lead to a post-Presidency

deposition. Pet. 24. As the Ninth Circuit recently explained in blocking the

deposition of a former Secretary of Education, “[t]he threat of having to

spend their personal time and resources preparing for and sitting for

depositions could hamper and distract officials from their duties while in

office.” In re U.S. Dep’t of Educ., 25 F.4th 692, 705 (9th Cir. 2022) (emphasis

added); see Order at 3, In re Murthy, No. 22-30697 (5th Cir. Jan. 5, 2023)

(per curiam) (“[A] party seeking the deposition of a high-ranking executive

official must show that ‘extraordinary circumstances’ exist,” and “[w]e agree

with other circuits that such a showing is equally applicable to former


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officials, lest they be ensnared in unnecessary discovery upon leaving

office.”).

       Plaintiffs largely fail to address the implications of their arguments for

the Office of the President or the separation of powers. Those implications

are profound. Given the “visibility of his office and the effect of his actions on

countless people,” Nixon, 457 U.S. at 752, a President should not be forced to

make decisions in office or to choose whose advice to receive or with whom to

speak, in the shadow of Rule 45 testimony in post-Presidential litigation. No

President exercising the powers of the office should have to pause and think,

“If I choose option X, I will be mired in depositions from the day I leave

office.”

       For these reasons, contrary to plaintiffs’ contention (Opp’n 22, 25-26),

the weighty separation-of-powers concerns implicated by the deposition of a

former President do not depend on whether the government later decides to

assert executive privilege over the information sought. Although the

presence of privileged information may supply an independent basis to object

to testimony, a demand for testimony from a former President about his

official conduct in office raises separation-of-powers concerns independent

from privilege. Indeed, the Supreme Court has recognized that requests for


                                        7
information from the President and his close advisors raise separation-of-

powers concerns even when the information sought is not privileged, see

Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2033-34 (2020) (noting that a

congressional request for the President’s personal papers “unavoidably pit[s]

the political branches against one another”), or when executive privilege has

not yet been asserted, see Cheney, 542 U.S. at 391.

      Nor are plaintiffs correct when they suggest that any harm to the

government could be corrected through “ordinary appellate review.” Opp’n

21 (quotation marks omitted). A judicial order compelling the former

President to testify causes a separation-of-powers injury that cannot be

remedied after the deposition takes place. Cf. Cheney, 542 U.S. at 381-82 (a

discovery order that threatens “intrusions on the process by which those in

closest operational proximity to the President advise the President” removes

it “from the category of ordinary discovery orders where interlocutory

appellate review is unavailable” (quotation marks omitted)).

            3.    Plaintiffs’ Other Arguments Are Unavailing

      Plaintiffs only underscore the flaws in their position when they suggest

that the former President should be treated like any other third-party

witness because he was not the “official decisionmaker,” and that they seek


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to explore only whether he “improperly influenced” the ultimate agency

decisionmaker. Opp’n 24-25. The President is not the ultimate decisionmaker

for most decisions made by federal agencies. Those decisions are made

instead by the heads of the relevant agencies or one of their subordinates. At

the same time, it is not unusual for a President to convey his views to a

relevant agency decisionmaker, particularly where the decision is of

significant interest and importance to the public and the Executive Branch.

As this Court has recognized, “[o]ur form of government simply could not

function effectively or rationally if key executive policymakers were isolated

from each other and from the Chief Executive.” Sierra Club v. Costle, 657

F.2d 298, 406 (D.C. Cir. 1981). If accepted, plaintiffs’ claim that a former

President can be deposed about his official activities whenever there is any

allegation or evidence that he sought to influence a decision made by an

agency official would expose a President to deposition on innumerable

matters.

      Plaintiffs’ remaining arguments in favor of treating the former

President like an ordinary litigant in these circumstances fare no better.

Plaintiffs suggest that the former President’s deposition is appropriate

because he was “personally involved in the events underlying Plaintiffs’


                                       9
claims.” Opp’n 22. But that is routinely the case when a party seeks to

depose a current or former high-level official. E.g., In re Clinton, 973 F.3d

106, 111 (D.C. Cir. 2020) (granting mandamus to quash deposition of former

Secretary of State that would have addressed “her reasons for using a

private server and her understanding of the State Department’s records-

management obligations”); In re United States, 542 F. App’x 944, 946 (Fed.

Cir. 2013) (granting mandamus to block the deposition of the Chairman of

the Board of Governors of the Federal Reserve even though he was allegedly

“a key decision maker” regarding the claims at issue, he “had knowledge of

various relevant aspects of the case,” and he “had provided testimony before

Congress, given various public speeches and written a book about the . . .

events”).

      Plaintiffs’ contention that the former President “has demonstrated

greater availability for civil litigation than the typical former president,”

Opp’n 22, is likewise beside the point. The former President has brought

civil litigation in his own name, and he has been deposed in connection with

civil litigation against him in his personal capacity. To the government’s

knowledge, however, this is the only case in which a court has approved the

compelled deposition of former President Trump with respect to his official


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conduct while in office. Such a deposition implicates the constitutional

separation of powers, and mandamus is warranted for that reason.

      Finally, the government’s decision not to seek further review of the

district court’s order allowing the deposition of the current FBI Director,

Opp’n 22-23, only strengthens the case for mandamus. The district court had

previously stated that “the issue [of the former President’s deposition] could

become moot if [plaintiffs] deposed Director Wray first and he says he never

discussed the termination of Mr. Strzok or the President’s views about it

with Mr. Bowdich at all.” Feb. 23, 2023 Tr. 35 (A41). The government then

elected to forgo further objections to the deposition of Director Wray, on the

condition that he be deposed first. And Director Wray testified that



              . Nonetheless, the district court denied the government’s

subsequent motion to reconsider the deposition of the former President

without even waiting for plaintiffs to respond. Pet. 18-19, 27-28.

      In sum, there is no merit to plaintiffs’ assertion that a request to

depose a former President about his official activities should be treated the

same as a request to depose any other third-party witness. As the district

court correctly recognized, the deposition of a former President regarding


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official conduct is justified, if at all, only in “extraordinary circumstances.”

Feb. 23, 2023 Tr. 6 (A12).

      B.      The District Court Abused Its Discretion in Concluding
              That Extraordinary Circumstances Exist Here

      Plaintiffs do not come close to meeting their burden to show the

extraordinary circumstances necessary to depose a former President. The

former President’s testimony is neither “essential” to Strzok’s retaliation

claim, U.S. Department of Education, 25 F.4th at 703, nor likely to provide

information vital to Strzok’s claim that is not already available from other

sources. See Pet. 26-32. Plaintiffs’ opposition fails to demonstrate

otherwise.1

      Like the district court, plaintiffs contend (Opp’n 29) that the former

President’s public statements criticizing Strzok, demanding his termination,

and later taking credit for his firing, present extraordinary circumstances

that justify his deposition. According to plaintiffs, the deposition will allow

them to investigate “how extensively Trump personally pressed for Strzok’s


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       Strzok and Lisa Page also brought Privacy Act claims based on the
release of a redacted subset of text messages they exchanged on their FBI-
issued phones. Pet. 32 n.2. They do not explain how a deposition of the
former President is necessary to those claims under any standard. Opp’n 20
n.9. Accordingly, the government does not seek here to correct plaintiffs’
incomplete and inaccurate recitation of the facts relevant to that claim.
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termination during the identified Oval Office meetings,” Opp’n 31, and

whether he “influenced” the FBI’s decision, Opp’n 4.

      Plaintiffs have already explored these topics extensively in discovery,

and the former President’s deposition is unlikely to provide them with

relevant evidence they do not already possess. As the government explained

in its petition, Pet. 29-30, the former President’s public statements

themselves provide “a viable substitute for the former president’s

testimony,” Opp’n 33. Those statements leave no doubt as to the former

President’s views regarding Strzok, including his strong desire that Strzok

be fired. It is unnecessary for plaintiffs to confirm that the former President

expressed the same views in Oval Office meetings that he expressed publicly.

And even if it were necessary, senior officials who met with former President

Trump have already testified that




                  Dkt. No. 115-1, Ex. C ¶ 3 (Kelly Decl.).




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      Plaintiffs have also had ample opportunity to explore whether former

President Trump directly pressed the FBI to fire Strzok during meetings at

the White House. They have deposed or interviewed a number of high-

ranking officials who attended those meetings, including the FBI Director,

the Deputy Attorney General, and the former President’s Chief of Staff.



                                        . Pet. 14-15, 18-19, 27-28; July 6, 2023

Minute Order (A6) (“[T]o the extent the individuals deposed to date recalled

the events in question, their testimony did not advance plaintiffs’ theory that

the former President was involved in the decision making at issue in this

case[ ] . . . .”). That testimony is consistent with



                                 ; Pet. 28. That multiple alternative sources

failed to corroborate plaintiffs’ speculation about the former President’s role

in Strzok’s termination is hardly a basis to allow the former President’s

deposition to go forward.


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Dkt. No. 30-5, at 18 (Strzok acknowledging that his misconduct “without

question” represented “horrible judgment”); OIG Report xi-xii.

      Plaintiffs also argue that the FBI’s decision to terminate Strzok was

“extraordinary on its face,” that the FBI’s decisionmaking process was

unusual, and that Strzok was punished more severely than similarly situated

employees. Opp’n 29. The government contests these assertions. Every

FBI official to consider his case, including Assistant Director Candice Will,

recognized that the “nature and scope” of Strzok’s misconduct caused

immense harm to the FBI and “certainly warrant[ed] dismissal.” Dkt. No.

30-5, at 23. Deputy Director Bowdich explained that, in his “23 years in the

FBI,” he “ha[d] not seen a more impactful series of missteps that has called

into question the entire organization and more thoroughly damaged the

FBI’s reputation.” Dkt. 30-7, at 2.

      The record nevertheless establishes that Deputy Director Bowdich’s

decision to reinstate the FBI Office of Professional Responsibility staff

dismissal recommendation, which reversed Assistant Director’s Will’s more


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lenient disciplinary decision, was neither unprecedented nor remarkable

under the circumstances. See, e.g.,




Will similarly testified that




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      In any event, plaintiffs’ grievances about the FBI’s decisionmaking

process provide no justification for deposing the former President. Plaintiffs

do not suggest that the former President can offer any insight into the FBI’s

disciplinary process or the decisions the agency has made with respect to

other employees. And, of course, plaintiffs are free to cite any purportedly

unusual circumstances surrounding Strzok’s termination to support their

claim that he was fired for reasons other than his misconduct. They do not

need the former President’s testimony to do so.

                               CONCLUSION

      The petition for a writ of mandamus should be granted.

                                           Respectfully submitted,

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August 2023

                                      18
                      CERTIFICATE OF COMPLIANCE

        I certify that this reply complies with the type-volume and

typeface/typestyle limitations of Federal Rule of Appellate Procedure 21(d)

because it contains 3591 words (excluding exempted matter) according to the

count of Microsoft Word, and has been prepared in proportional

CenturyExpd BT 14-point font.

                         CERTIFICATE OF SERVICE

        I certify that, on August 9, 2023, I electronically filed the sealed version

of this reply by email to the Court’s sealed filings e-mail address:

SealedFilings@cadc.uscourts.gov, and that, on August 9, 2023, I

electronically filed a public version of this reply through this Court’s

CM/ECF system. I also certify that eight copies of the sealed reply and

eight copies of the public reply will be sent to the D.C. Circuit via first-class

mail.

        I further certify that, on August 9, 2023, four copies of the attached

reply (two copies of the public reply and two copies of the sealed reply) were

served on the following counsel by e-mail and first-class mail:
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sent to the Honorable Amy Berman Jackson, U.S. District Court Judge for

the District of Columbia, by email and first-class mail.

                                             /s/ Martin Totaro
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